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     UNITED STATES OF AMERICA
17
18                          UNITED STATES DISTRICT COURT

19                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

20   UNITED STATES OF AMERICA,              No. CV 16-5364-DSF (PLAx)

21            Plaintiff,                    STIPULATION AND REQUEST TO LIFT
                                            STAY FOR PURPOSE OF FILING
22                  v.                      STIPULATION FOR CONSENT JUDGMENT
                                            OF FORFEITURE, AND LODGING
23   ANY RIGHTS TO PROFITS, ROYALTIES       [PROPOSED] CONSENT JUDGMENT OF
     AND DISTRIBUTION PROCEEDS OWNED        FORFEITURE
24   BY OR OWED RELATING TO EMI MUSIC
     PUBLISHING GROUP,                      [[Proposed] order lifting stay
25                                          lodged concurrently herewith]
26             Defendant.
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 1         Counsel for Plaintiff United States of America (the
 2   “government”) and Claimant JW Nile (BVI) Ltd. stipulate and request
 3   that the stay in this action be lifted and that this case be restored
 4   to the Court’s active calendar.
 5         On August 10, 2017, the government filed a motion to stay this
 6   civil forfeiture action pursuant to 18 U.S.C. § 981(g)(1), which
 7   request was granted by the Court on September 13, 2017.         The stay
 8   order applied to all proceedings except the filing of timely claims.
 9         By this stipulation, the parties respectfully request that the
10   stay of this action be lifted and that this case be restored to the
11   Court’s active calendar for the purpose of allowing the government to
12   file a stipulation and request for entry of consent judgment of
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 1   forfeiture, and lodge a proposed consent judgment.         The proposed
 2   consent judgment, if entered, will be dispositive of this action.
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 4   Dated: October 30, 2019             Respectfully submitted,
 5                                       DEBORAH CONNOR
                                         Chief, MLARS
 6
 7                                       NICOLA T. HANNA
                                         United States Attorney
 8
                                              /s/
 9                                       JOHN J. KUCERA
                                         Assistant United States Attorney
10                                       WOO S. LEE
11                                       Deputy Chief, MLARS

12                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
13
     Dated: October 30, 2019
14
                                                /s/
15                                       Ekwan E. Rhow
                                         Jeremy D. Matz
16                                       Naeun Rim
                                         Patricia H. Jun
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                                         Bird, Marella, Boxer, Wolpert,
18                                       Nessim, Drooks, Lincenberg & Rhow,
                                         P.C.
19
                                         Attorneys for Claimant
20
                                         JW NILE (BVI) LTD.
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